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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 23-14030-CR-CANNON/MAYNARD


   UNITED STATES OF AMERICA,

         Plaintiff,

   vs.

   KEYON LEWIS,

         Defendant.
   _________________________________/

                DEFENDANT’S POSITION PAPER ON SENTENCING

         COMES NOW defendant, Keyon Lewis, by and through his appointed counsel,

   Kafahni Nkrumah, pursuant to Federal Rule of Criminal Procedure 32, Local

   Criminal Rule 88.8, and USSG § 6A1.2(b), and submits the following position with

   respect to sentencing in this case.

                            SENTENCING POSITION PAPER

         Mr. Lewis respectfully request this court take into consideration all the 18

   USCA § 3553(a) factors and sentence him to a sentence of 240 months, to be followed

   by a term of supervised release. Mr. Lewis believes that this sentence is sufficient,

   but not greater than necessary to achieve the purposes of sentencing within 18 USC

   § 3553(a).

         Mr. Lewis would like this court to be aware that his life experiences are not

   being offered to this court as an excuse for his conduct. It is being offered as mitigation

   evidence, which United States Supreme Court case law, and statutory authorities
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   clarifies, “… is not being provided as an excuse or justification for engaging in

   criminal conduct, but rather for the purpose of mitigation as to the length of sentence

   or type of punishment to be imposed as a result of that criminal conduct.” See Lockett

   v. Ohio, 438 U.S. 586 (1978), Abdul Kabir v. Quarterman, 550 U.S. 233, 246 (2007);

   See also, 18 U.S.C. § 3661 and 21 U.S.C. § 850. 1

                                   The Offense Circumstances

          On November 7th, 2021, J. S. arrived home and found her husband, D.C., dead

   from an apparent drug overdose and she called the authorities. Law enforcement

   arrived on the scene and during their investigation they found text message

   exchanges that they believed to be drug related in D.C.’s cellphone. Later that

   evening, the officers contacted the alleged dealers’ cell number, by text using D.C.’s

   cell phone, and arranged a drug purchase to be made at D.C.’s home. When the user

   of the cell phone texted the officers and informed him that he was at D.C.’s home, the

   officers stopped the vehicle in which Mr. Lewis was a passenger. Mr. Lewis was

   eventually arrested for state drug charges.

          On July 13, 2023, a federal grand jury in the Southern District of Florida

   indicted Mr. Lewis in a two-count indictment with one count of distribution of

   fentanyl that resulted in a death (count one) and one count of possession with intent

   to distribute a controlled substance (count two). On February 20, 2024, Mr. Lewis




   1 Evidence about the defendant’s background and character is relevant because of the belief, held by
   this society, that defendants who commit criminal acts that are attributable to a disadvantaged
   background, or to emotional and mental problems, may be less culpable for sentencing purposes than
   those who have not had such experiences. California v. Brown, 479 U.S. 538, 545 (1987) (O’Connor,
   concurrence).

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   plead guilty, pursuant to a written plea agreement, to count one, distribution of

   fentanyl that resulted in a death, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C). Mr.

   Lewis has fully allocated and has accepted responsibility for his conduct.

                       A.    Mr. Lewis’s Personal Circumstances

         Mr. Keyon Lewis is a twenty-seven-year-old, African American man, born in

   Vero Beach, Fl., into a troubled situation and dysfunctional family. Mr. Lewis’

   parents, Mr. Tracey Norris and Ms. Takessa Lewis were not married when Mr. Lewis

   was born, his parents living separately in separate towns, and Mr. Lewis states that

   his father was not involved in his life during his childhood. Mr. Lewis’ mother was

   suffering from drug and alcohol addictions during, and after, her pregnancy with Mr.

   Lewis, resulting in Mr. Lewis being born with an addiction to cocaine that he would

   eventually have to withdraw from, a painful beginning to a difficult life for this child.

         Eventually, Mr. Lewis’ mother lost custody of him, as well as all her children,

   and he was placed with his mother’s sister, Ms. Errika Lewis, when Mr. Lewis was

   six (6) months old. When Mr. Lewis was relocated with his aunt, he was still suffering

   from the effects of fetal cocaine addiction and fetal alcohol syndrome. Interestingly,

   although Mr. Lewis was born with drug and alcohol disabilities, he was not initially

   taken from his mother, although his older siblings had previously been removed, and

   he lived with his mother for approximately six months before the state placed him in

   relative care. It should also be noted that all of Mr. Lewis’ siblings, from his mother,

   have been placed in family foster care, either with Mr. Lewis maternal grandmother

   or with his aunt.



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         In speaking with Ms. Davis, she described Keyon’s adjustment to living with

   her and her family as good while he was a child, but things started to change once he

   was old enough to start speaking with his siblings and his mother. “Keyon came to

   live with me when he was six months old. When he came to live with me, he was a

   good baby and child. I could tell he was developmentally delayed in some areas of

   development, but I didn’t know exactly what disabilities he was suffering from.

   Keyon was a good child with a kind heart, and he was always willing to be of help to

   someone, family, or friends. Despite being given custody of Keyon under his

   particular circumstances; the Florida Department of Child Welfare (Florida DCF) did

   not provide any testing for mental disabilities for him, and I would have to eventually

   get him tested myself.”

         “When Keyon was finally tested, he was already in kindergarten. He was

   diagnosed as having bipolar disorder and he was also diagnosed with oppositional

   defiant disorder. While he was in school Keyon was given an IEP school program,

   which he had throughout his schooling, and he was placed in regular school classes.

   But as it usually happens with children who suffer with the mental disabilities that

   Mr. Lewis suffers from, they begin having behavioral problems in school and at home.

         Ms. Davis remembers that Keyon’s behavioral issues escalated after he began

   speaking with his mother again. “As a child, Keyon did not have any communication

   with his mother, I didn’t let him speak with her because of the false promises and

   dreams she would tell her children, who like all children, wanted to be with their

   mother, no matter how difficult the circumstances. But once he became a teenager,



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   and he began communicating with his siblings more, one of his siblings gave him his

   mother’s phone number, and he and his mother began communicating more

   frequently. I think Keyon’s longing to be with his family helped to escalate the

   behavioral issues he was having in school. His mother would make promises that she

   just couldn’t keep, but as a child, these promises are what he wanted to hear. It was

   the drugs and guilt that was talking, but her children didn’t know that, and what

   child doesn’t want the love of their parent? At some point the pull became too much

   for Keyon and he left to go back to Vero to be with his mother when he was sixteen

   years old. Well, it didn’t quite turn out like he had expected with his mother and

   after bouncing from place to place, he was just trying to find his way out there when

   all of this happened.”

         Ms. Davis talked about Mr. Lewis’ experience at Fort Gordon. “Before leaving

   for Florida, Mr. Davis self-enrolled in the Fort Gordon Youth Challenge Academy. He

   was doing well at the program and was turning a corner. He enrolled because he

   wanted a chance to change the trajectory of his life, and he was actually turning a

   corner until he was attacked at the school by another student. When the school

   contacted me, Keyon was in the hospital, and I was told he had passed out. When I

   got to the hospital, I learned that he was hit in the head a couple of times with a

   Kevlar helmet. After this incident, Keyon began experiencing tremors and frequent

   headaches. I think the school was worried about Keyon suing them and they

   eventually pushed him out of the program. About 10 months after this happened,

   Keyon left for Vero Beach and went back to his mother.”



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          Ms. Davis goes on to talk after Keyon left. “After Keyon returned to Vero

   Beach, we would talk frequently and Keyon soon realized what I had been trying to

   tell him, that his mother means well, and I really believe that she sincerely loves and

   wants to be with her children, but that isn’t possible because of where she was at

   during that time in her life. After returning to Vero Beach, Keyon bounced around

   just trying to find his way.”

          In speaking with Mrs. Monet Wright, Mr. Lewis’ wife, she talks about meeting

   a young man who seem came to know was a sweet, down-to-earth person who is very

   kindhearted and willing to help anyone. Ms. Wright states that her and Keyon have

   been together approximately four years and have been married for a little over a year.

          “My children love Keyon. They see him as their father. My son, Aldin Dawson,

   age seven, calls him ‘daddy.’ Since Keyon has been locked up, my son has gone into

   a depression, not wanting to play outside, staying in his room, and mopping around

   the house like he’s lost his best friend. In speaking with him the other day he told

   me that ‘he feels lost, first he lost his oldest brother, to death, and now he is losing

   his father. And what makes it worst is that he is being sentenced on my birthday, of

   all days!’”

          “My daughter, Cur-Shanti Pittman, who is 5 years old, also knows Keyon as

   her father. She is super attached to Keyon and is always asking when he will be

   coming home and when she can see him again. I just don’t know what to tell her. We

   also have been the primary caregiver for Keyon’s daughter, her mother practically

   giving up custody to us, we got her when she was two weeks old. Keyon is a good



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   father and I know him not being there for his children is taking a toll on him. He was

   also a big brother to a lot of the kids in the neighborhood. They looked up to him and

   he was always encouraging them to go to school, to do well in school, and stay out of

   the streets, telling them that nothing good comes from living the street life.”

         “I miss him also, very much. Keyon stayed home taking care of the children,

   making sure they were ready for school, taking them to the bus stop, caring for them

   when they got home, cooking and cleaning, and basically being a Mr. Mom while I

   worked. He would also do odd jobs to try to help me with the bills, but him not being

   here has been horrible for me and his family. My having to work and finding care for

   my children, and just missing his companionship, has thrown our world into turmoil.

   He was getting ready to start working when all of this happened. He was looking for

   work and didn’t want to be in the streets. He was trying to better himself and our

   family.”

         B. 18 U.S.C. § 3553(a) in considering Mr. Lewis’ sentence.


         The mandate of 18 U.S.C. § 3553(a) is, of course, for the court to “impose a

   sentence sufficient, but not greater than necessary, to comply” with the purposes of

   sentencing set forth in paragraph Two of that same statute. In United States v.

   Chavez, 584 F.3d 1354, 1364 (11th Cir. 2009), the Eleventh Circuit summarized the

   factors that a sentencing court must consider:

         “Post Booker, the imposition of a sentence by the district court in a
         criminal case … involves a two-step process. First, the district court
         must still determine the appropriate sentencing range under the
         guidelines. This step includes the consideration and application of
         applicable departures as authorized by the Guidelines or statute.
         Second, the district court must then consider the various factors

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            enumerated in 18 U.S.C. 3553(a) in ultimately arriving at a reasonable
            sentence.

   See also, United States v. Talley, 431 F.3d 784, 787 (11th Cir. 2005) (“The § 3553(a)

   factors include: (1) the nature and circumstances of the offense and history and

   characteristics of the defendant; (2) the need to reflect the seriousness of the offense,

   to promote respect for the law, and provide just punishment for the offense; (3) the

   need for deterrence; (4) the need to protect the public; (5) the kinds of sentences

   available; (6) the sentencing guidelines range; (7) pertinent policy statements of the

   Sentencing Commission; (8) the need to avoid unwanted sentencing disparities…. .

            In Mr. Lewis’ case, it is the circumstances of his current offense, the

   circumstances of his life, and his personal characteristics that justifies a sentence of

   two-hundred and forty months, with a period of supervised release to follow. Mr.

   Lewis’ has taken full responsibility for his actions, evidenced by his willingness to

   plead guilty before trial.

            Mr. Lewis is also very remorseful that his actions contributed to a loss of life.

   Mr. Lewis knew the decedent, D.C., for some time before this incident, them getting

   to know each other because D.C. was Mr. Lewis’ barber. “D.C. was a cool dude, and

   he was my barber, that’s how I meet him. I am extremely sorry, I never meant for

   anyone to die, and I apologize to his family, my family, and the community for my

   role in this tragedy. This is something that I will have to live with for the rest of my

   life.”




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         A. §3553(a) Factors

         This Court’s obligation to consider carefully, the 18 U.S.C. § 3553(a)(2) factors

   need for Mr. Lewis’ sentence to “reflect the seriousness of the offense; to promote

   respect for the law; to provide just punishment for the offense; to afford adequate

   deterrence to criminal conduct; to protect the public from further crimes of the

   defendant; and also “the need to avoid unwarranted sentence disparities among

   defendants with similar records who have been found guilty of similar conduct, is an

   obligation that is imposed by law. 18 U.S.C. § 3553(a)(2).

         Excessively long sentences, however, fail to reflect the seriousness of the

   offense, undermine respect for the law, and fail to provide just punishment. See

   United States v. C. R., 792 F.Supp.2d 343, 516 (E.D.N.Y. 2011) (“A sentence must be

   proportional to the defendant’s crime. A sentence that is disproportionately long in

   relation to the offense is unjust and fails to promote respect for the law); see also

   United States v. Rogers, 960 F.2d 1501 (10th Cir. 1992) ( A sentence must be

   proportionate to the crime committed, and if the sentence is so disproportionate to

   the crime as to shock the moral sense of the community, the sentence is

   impermissible). There is no reason to believe that respect for the law will increase if

   a defendant who deserves leniency is sentenced harshly any more than there is

   reason to believe that respect for the law will increase if a defendant who deserves a

   harsh punishment receives a slap on the wrist. See United States v. Marshall, 870 F.

   Supp. 2d 489, 491 (N.D. Ohio 2012) (While a five-year mandatory prison term may be




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   less cruel than life in prison, as applied in cases like this one, it may well constitute

   “cruel and unusual punishment.”).

         1. The Possibly Effects of Mr. Lewis’s Childhood Trauma

          Trauma is a profound experience of the loss of security and welfare evoking

   feelings of fear, helplessness, harrow, and possibly disorganized agitation in

   children. 2 The description of PTSD in the Diagnostic and Statistical Manual of

   Mental Disorders has increasingly taken into account child-specific features of PTSD,

   and PTSD has evolved from a disorder first associated with Vietnam veterans in the

   1970’s 3 to one which has now been well documented in the general population at an

   estimated 7 - 12%. 4

          And in specific groups of children, particularly high-risk children such as

   adolescent delinquents, an estimate of PTSD in the population of children and

   adolescents is still forthcoming but is believed to be much higher than that of the

   general population. Dr. VV Ruchkin, 5 in a study that he has conducted, has pointed

   out that twenty-five (25) percent of adolescent delinquents met DSM-III PTSD

   criteria and forty-two (42) percent fulfilled partial PTSD criteria, percentages

   comparable to and exceeding those found in the population of Vietnam veterans,

   suggesting the vulnerability of childhood or adolescent experiences and the subjective


   2 American Psychiatric Association. Diagnostic and Statistical Manual of Mental Disorders. 4th edition.

   Washington, DC, USA: American Psychiatric Association; 2000.
   3 Card JJ. Epidemiology of PTSD in a national cohort of Vietnam veterans. Journal of Clinical
   Psychology, 1987; 43 (1):6-17 [Pubmed]
   4 Kessler RC, Sonnega A, Bromet E, Hughes M, Nelson CB Posttraumatic stress disorder in the

   national comorbidity survey, Archives of General Psychiatry. 1995;52(12):1048-1060.
   5 Ruchkin, V.V.; Schwab-Stone, M.; Koposov, R.; Vermeiren, R.; Steiner, H., Violence exposure,

   posttraumatic stress, and personality in juvenile delinquents, 41 Journal of the American Academy of
   Child and Adolescent Psychiatry, 322-329 (2002)

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   nature of trauma.

         The latest DSM-IV-TR outlines the diagnostic criteria for PTSD following the

   occurrence of a traumatic event, including symptoms for longer than one month of (1)

   reliving the trauma, (2) avoiding associations related to the trauma, and (3) increased

   arousal resulting in “clinically significant distress or impairment in social,

   occupational, or other important areas of functioning.” 6 The description is keen to

   note the impact of childhood development on the triad of symptoms; for instance, in

   children, the response to the trauma may be expressed as disorganized and agitated

   behavior rather than intense fear, horror, and helplessness, and the reexperiencing

   may be expressed through repetitive play with traumatic themes, frightening dreams

   without recognizable meaning, and trauma-specific reenactment. 7

         Children may suffer trauma in many significant ways including developmental

   delays; numerous social, behavioral, and academic difficulties; somatic complaints;

   lower self-esteem; and attachment issues. 8 As an anxiety disorder, one may imagine

   PTSD to be a source of strife for the victim and perhaps close a circle of contacts.

   However, rather than being a quietly contained disorder, the violence and chaos

   experienced by the victim through trauma may manifest as outward acts of

   aggression, delinquency, and conduct disorder behaviors and the like may be




   6 Pooja L. Amatya and Drew H. Barzman, ISRN Pediatrics, The Missing Link between Juvenile
   Delinquency and Pediatric Posttraumatic Stress Disorder: An Attachment Theory Lens (2012)
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3384893/
   7 Id.
   8 Trickett, PK, McBride-Chang, C.,


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   considered as symptoms of PTSD, rather than isolated problems. 9

          In an electronic mental health newsletter by Dr. Joel I. Kimmel P.H.D., he

   speaks about “The Traumatic Effects of Abandonment” and its effects if not properly

   treated:

                  “…Weather they were abandoned by parents who were not
                  present, parents who were present but emotionally unavailable,
                  or have been abandoned in relationships later in their lives, the
                  effects can be quite devastating. Abandonment by a significant
                  person leads to a sense of loss of love and connectedness. In early
                  life, being cared for, being important to others and being wanted
                  is critical. When rejection or abuse occurs, the message to the
                  person is that they are not important and that they have no value.
                  In children, this loss of psychological and physical protection
                  leads to internalized chronic fear and shame. Imagine, if you will,
                  growing up and living your life with the belief that you are not
                  wanted and that you are worthless. How do you go on in life with
                  these beliefs? In many adopted children, the ability to attach to
                  others during the formative years is corrupted and many grow up
                  to be adults who are untrusting of others and believe that they
                  don’t matter. Often, they develop a ‘me against the world
                  attitude.’” 10

          Dr. Kimmel goes on to talk about abandonment actually able to occur at any

   time during a person life cycle. He goes on to describe how an abandoned person

   feels going through the process mentally:

                  “…Abandonment also includes an aloneness not by choice, feeling
                  isolated even in relationships, feeling deserted by others, feeling
                  not accepted by society because of gender or race…. Being
                  abandoned is a situation that is taken personally. Those who have
                  been abandoned believe that the abandonment was made by a
                  person important to them who CHOSE to leave them, to reject


   9 Pooja L. Amatya and Drew H. Barzman, ISRN Pediatrics, The Missing Link between Juvenile
   Delinquency and Pediatric Posttraumatic Stress Disorder: An Attachment Theory Lens (2012)
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3384893/
   10 Joel I. Kimmel, P.H.D., The Traumatic Effects of Abandonment! An Electronic Mental Health

   Newsletter from Joel I. Kimmel, Ph.D., Vol. 10, Number 7 (2015), https://kimmelpsychology.com/the-
   traumatic-effects-of-abandonment/

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                  them. It causes a person to feel that they are unwanted,
                  unimportant, and basically don’t matter. Shame and low self-
                  esteem accompanies abandonment. Consequently, it can be
                  lifelong as many individuals spend their lives trying to disprove
                  those beliefs. They often enter into poorly chosen relationships
                  which either ultimately end in rejection or dependence upon the
                  person to whom they are looking for acceptance. However, they
                  basically don’t trust others and have difficulty being open and
                  intimate. They will often turn to addictive behaviors such as
                  drinking and drugging to numb themselves to feel better.
                  Abandoned people often become depressed and anxious with
                  many fears as they lack confidence and a sense of identity. Many
                  constantly look for any signs of potential rejection and can make
                  excessive emotional demands in relationships. …” 11

            In another online medical newsletter, MedicalNewsToday, an article that was

   medically reviewed by Timothy J. Legg, Ph.D., CRNP and written by Jayne Leonard,

   What to know about abandonment issues, gives the reader a short and concise

   understanding of the effects of abandonment, especially in children. The author is

   clear to state that, “fear of abandonment is not a standalone mental health condition,

   such as depression, but it is a form of anxiety and even a phobia in some senses.” 12

   The author goes on to write about the effects of abandonment on those children who

   have been experienced the loss of a parent:

                  “In severe cases, such as those in which a child has experienced
                  the loss of a parent or caregiver, they may develop unhealthy
                  ways of coping, such as: addiction, disordered eating, lashing out
                  at others, either physically or verbally, and self-harm. 13

            Mr. Lewis has been evaluated and diagnosed with the following mental

   disabilities, bi-polar disorder and oppositional defiant disorder, but he has not been


   11 Id.
   12  Jayne Leonard, medically reviewed by Timothy J. Legg, Ph.D., CRNP, What to know about
   abandonment          issues,         MedicalNewsToday,         Feb.      26,        2020,
   https://www.medicalnewstoday.com/articles/abandonment-issues
   13 Id.


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   diagnosed for PTSD. But if we were to look at some of the more traumatic events of

   his life, from being born addicted to cocaine and alcohol; through to the severe trauma

   suffered in the Fort Gordon attack, coupled with the difficulties with behavioral

   issues because of the mental disability he suffered from, these factors, as well as

   others, more than add up to the chances of Mr. Lewis being diagnosed with PTSD,

   along with Bipolar Disorder, highly probably.

          Also being exposed to environments rife with poverty and violence, to include

   the factors that are most conducive to juvenile delinquency such as parental

   psychopathology, drug usage, neighborhoods with criminal subculture, low

   employment participation, frequent mobility among residents, and poor school

   conditions, these factors are factors that are conducive to juvenile delinquency, as

   well as trauma. Mr. Lewis’s exposure to very traumatic experiences in his early life,

   coupled with the mental disability that he has suffered from since early childhood,

   are certain to have had a detrimental effect on his decision making, then as well as

   now as an adult, and should be considered by this court.

          In a case in the United States District Court for the Eastern District of New

   York, U.S. v. Bannister, 786 F.Supp. 2d 617, 688-89 (EDNY 2011), the Hon. Jack B.

   Weinstein authored an opinion which analyzed the impact that overwhelming

   negative risk factors present in and around a Brooklyn public housing project and its

   effects on the lives of the young men before the court for sentencing for conspiring to

   sell narcotics.




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         The Court’s 57-page opinion complete with statistics on the deprivation of

   education, employment opportunity, poverty, drugs and violence over the past 40

   years and futility and adverse consequences of imposing harsh mandatory minimum

   sentences, examined how those conditions served to derail the lives of each of the

   young men before the court for sentencing.      From the outset, Judge Weinstein

   observed:

                “As a group, defendants grew up in dysfunctional homes
                characterized by a combination of poverty, unemployment, under
                education, crime, addiction to drugs and alcohol, physical and
                emotional abuse, and the absence of an adult male role model.
                They attended low-functioning public schools with limited
                resources to help students with their in-and out--of-school
                difficulties. Most dropped out of school, habitually abused drugs
                and alcohol from an early age, and found little lawful
                employment. They became involved in a gang of illegal narcotics
                distributors, which turned to guns and violence, contributing to
                the degradation of their community.”

   Bannister, 786 F. Supp. 2d at 621.

         Judge Weinstein noted, “While the defendants are before this court because of

   choices they themselves have made, the limited options available to them are partly

   the fixed artifacts of history. Their story begins hundreds of years ago with the

   enslavement of African Americans.      It runs through Reconstruction, Jim Crow,

   northward migration, de jure and de facto segregation, decades of neglect, and

   intermittent improvement efforts by government and others.” Bannister, 786 F. Supp.

   2d at 624.




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         After a lengthy and scholarly review of the confluence of the conditions of

   poverty, race, crime, drugs and violence prevalent in the communities in which the

   young offenders were born and raised, Judge Weinstein observed in conclusion:

                “Had the defendants been raised by cohesive, adequate families,
                most of the difficulties they encountered would probably never
                have come to pass. Well-resourced, attentive parents would have
                had the knowledge, ability, and insight to protect their children
                from many of the difficulties that befall these defendants in their
                youth, to obtain assistance to deal with their psychological and
                physical problems, and to obtain crucial opportunities for
                education, work, and personal growth. Even those with learning
                disabilities would likely have been provided available resources
                to overcome their impairments at public expense. That the
                defendants were born into circumstances without such support is
                at the center of this tragedy.”

   Bannister, 786 F. Supp. 2d at 688-89.

         Mr. Lewis was not raised in a Brooklyn, NY housing project but the

   circumstances and factors that Judge Weinstein sets forth in his opinion manifest

   itself in communities of color throughout this country and has more than likely

   adequately described life as Mr. Lewis has known it.

        2. Other 3553(a) Considerations


   The United States Sentencing Commission report, The Effects of Aging on Recidivism

   Among Federal Offenders (Dec. 2017), supports Mr. Lewis’s request for a sentence of

   time on count one and fifty-two months on count two as an appropriate sentence in

   this matter. The findings of the Sentencing Commission’s report, Figure 14, shows

   that the reconviction rate of offenders at the time of their release is highest among

   offenders who are younger than twenty-one at the time of their release, at 48.5%, and

   those between the ages of twenty-one to twenty-four years old at 48.4%. These

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   percentages declined in each subsequent age grouping, with those who are between

   25 and 29 years old at time of release being at 42.7%. Figure 15 in the same report

   also shows that the reincarceration rate by age at the time of their release was highest

   among those between the ages of 21 to 24 years old, at 38.6%, and declined in each

   subsequent age group, with those between the ages of 25 to 29 years old at 33.7%.

   The report also shows that time to reincarceration expands with age and the severity

   of reincarceration offense declined with age. 14

          Mr. Lewis would also respectfully request that this Court take into

   consideration the findings in the United States Sentencing Commission, Measuring

   Recidivism: Criminal History Computation of the Federal Sentencing Guidelines

   (2004), exhibit 9 shows that those in the age group of 21 to 25 at the time of sentencing,

   who fall in criminal history category I, have a recidivism rate of 22.3%, as compared

   to those, for example, in the 21 to 25 years of age bracket with a CHC III who recidivate

   at a rate of 42.7% and CHC VI who recidivate at a 68.1%. 15 This exhibit also goes on

   to show that Black males who are similarly situated in CHC I as Mr. Lewis, have a

   recidivism rate of 23.7%, which is the lowest percentage among Black males; lower

   than the recidivism rate of all Hispanic males except those in CHC’s I and II; lower

   than the recidivism rate of all White males, except those in CHC”s I and II; and lower




   14 The Effects of Aging on Recidivism Among Federal Offenders (Published Dec. 7th,

   2017) can be found at: www.ussc.gov/research/research-reports/effects-aging-
   recidivism-among-federal-offenders
   15The Sentencing Commission’s report, including Exhibit 9, can be found at:

   http://www.ussc.gov/Research_and_Statistics/Research_Publications/2004/200405_R
   ecidivism_Criminal_History.pdf.
                                               17
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   than all other males, except those in CHC I.


                  When balancing the 3553(a) factors and the possible health

   consequences from incarceration, these factors also cuts in favor of his request for a

   sentence of sixty-six months, with a period of supervised release to follow. Mr.

   Stinson suffers from type 2 diabetes. (See draft psr pg. 21, ¶ 61), and his health will

   surely be negatively impacted further from the stressors placed on the body because

   of incarceration.

            Mr. Lewis’ health, including his mental health, are factors that this court can

   consider in fashioning a sentence. In a study in the Annual Review of Sociology 16 the

   authors documented a negative relationship between incarceration and a divers set

   of health conditions. For example, incarceration is associated with high levels of self-

   reported illnesses and the experience of incarceration (exposure) generally has a

   greater effect on health than the length of incarceration. Aside from general health

   conditions such as physical functioning, studies in this area have considered various

   distinct conditions, including infectious disease, cardiovascular disease, and formerly

   incarcerated person have an elevated risk for these chronic health conditions

   compared with the general population. 17

            And the effect of prisons on a person’s mental health have been well

   documented. In an online article by the Prison Policy Initiative entitled, Research



   16 M. Massoglia and W.A. Pridemore, Incarceration and Health, 41 Annual Review of

   Sociology, 291-310 (2015), https://doi.org/10.1146/annurev-soc-073014-112326

   17 Id.


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   Roundup: Incarceration can cause lasting damage to mental health, the article talks

   about the debilitating effects of incarceration:


         We often talk about the disturbingly high numbers of people with
         mental health disorders locked up in prisons and jails. But less attention
         is paid to the ways in which incarceration itself perpetuates this problem
         by creating and worsening symptoms of mental illness. Research shows
         that, while it varies from person to person, incarceration is linked to
         mood disorders including major depressive disorder and bipolar
         disorder.

         The carceral environment can be inherently damaging to mental health
         by removing people from society and eliminating meaning and purpose
         from their lives. On top of that, the appalling conditions common in
         prisons and jails — such as overcrowding, solitary confinement, and
         routine exposure to violence — can have further negative effects.
         Researchers have even theorized that incarceration can lead to “Post-
         Incarceration Syndrome,” a syndrome similar to PTSD, meaning that
         even after serving their official sentences, many people continue to
         suffer the mental effects. 18

         Counsel is not requesting a variance based on Mr. Lewis mental health

   difficulties pursuant to USSG 5K2.13, but he respectfully asks that the court take

   into account the mental stresses that prions places on a person in conjunction with

   some of the other stressors placed on the body because of incarceration. These

   reasons can also justifiably enter into this Court’s sentencing decision. See, e.g.,

   United States v. Gray, 453 F.3d 1323, 1325 (11th Cir. 2006) (A defendant’s age, his

   prior minimal criminal record, and his medical condition are all valid considerations



   18 K.R. Quandt and Alexi Jones, Research Roundup: Incarceration can cause lasting

   damage     to     mental      health,    Prison    Policy   Initiative,        (2021),
   http://www.prisonpolicy.org/blog/2021/05/13/mentalhealthimpacts/

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   at sentencing because they relate to the history and characteristics of the defendant);

   United States v. Foster, 2012 WL 2863252, *5(N.D. Ill. 2012) (“At his original

   sentencing hearing, the Court found Foster’s health concerns and his desire to

   rehabilitate his life to be mitigating factors taken into account pursuant to Section

   3553(a).”).

         3. Conclusion

         Sentencing courts are, of course, charged with the responsibility of treating

   those that come before them as individuals. See Koon v. United States, 518 U.S. 81,

   113 (1996) (“It has been uniform and constant in the federal judicial tradition for the

   sentencing judge to consider every convicted person as an individual and every case

   as a unique study in the human failings that sometimes mitigate, sometimes magnify,

   the crime and the punishment to ensue.”). Courts are charged by Congress, as well,

   to impose a sentence that is sufficient, but not greater than necessary to fulfill the

   goals of sentencing established by Congress. See 18 U.S.C. § 3553(a).

         Mr. Lewis respectfully requests this Court to follow that tradition and impose

   a sentence of two-hundred and forty months, with a term of supervised release to

   follow. This sentence is “sufficient, but not greater than necessary,” to achieve the

   purposes of sentencing set forth in § 3553(a).




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         4. Requests for Recommendations

         Mr. Lewis respectfully requests a sentence in a facility as close to the Southern

   District of Florida as possible so that it will be easier to maintain family visits.

                                            Respectfully submitted,

                                            HECTOR DOPICO
                                            INTERIEM FEDERAL PUBLIC DEFENDER

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                             CERTIFICATE OF SERVICE

         I HEREBY certify that on July 3, 2024, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for

   those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.



                                          By:     s/Kafahni Nkrumah
                                                    Kafahni Nkrumah




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